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 8                              IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   ALEKSANDR YAKOVLEV,

11                    Petitioner,                   No. CIV S-07-0118 MCE DAD P

12              vs.

13   CHARLES DeMORE, et al.,

14                    Respondents.                  ORDER

15                                             /

16                    Petitioner has filed an amended petition for a writ of habeas corpus pursuant to 28

17   U.S.C. § 2241 challenging his detention at the Yuba County Jail by the U.S. Immigration and

18   Naturalization Service. On May 1, 2007, the United States Attorney’s Office filed a motion to

19   dismiss the amended petition as moot and informed the court that on February 20, 2007,

20   petitioner was released from custody on an order of supervision. In light of the government’s

21   representations, the court will order petitioner to file his opposition or statement of non-

22   opposition to the motion to dismiss.

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 1                   Accordingly, IT IS HEREBY ORDERED that within twenty days from the service

 2   of this order, petitioner shall file his opposition or statement of non-opposition to respondents’

 3   motion to dismiss, filed on May 1, 2007.

 4   DATED: May 18, 2007.

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 8   DAD:4
     yako0118.oppo
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